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 3   Sacramento, California 95814
     Telephone: (916) 557-1113
 4
     Attorney for Sammy L. Kelson, Jr.
 5
 6
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )       CR. No.2:07-CR-00176-MCE
                                   )
12                   Plaintiff,    )       STIPULATION AND PROPOSED ORDER
               v.                  )
13                                 )
                                   )
14   SAMMY L KELSON, JR., et, al, )
                                   )
15                    Defendants. )
     ______________________________)
16
17         The defendants, through their undersigned counsel, and the
18   United States, through its undersigned counsel, agree and
19   stipulate that the status conference hearing currently scheduled
20   for Thursday, September 13, 2007, should be vacated and continued
21   until Thursday October 18, 2007, at 9:00 a.m..
22         Further continuance is necessary for further investigation
23   and negotiations. The defense needs additional time to review
24   discovery and for investigation and trial preparation and
25   readiness and evaluation of evidence and setting trial and motion
26   and briefing schedule.     The government needs additional time to
27   evaluate case for settlement negotiations.
28   ///
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 1        Therefore, the parties agree and stipulate that time should
 2   be excluded under the Speedy Trial Act pursuant to Local Code T4
 3   for investigation and trial preparation and due to the complexity
 4   of the case [Local Code T2], up to and including October 18,
 5   2007.
 6        I, William E. Bonham, the filing party, have received
 7   authorization from all the parties to sign and submit this
 8   stipulation and proposed order on their behalf and that defense
 9   counsel have authorization from their respective clients.
10        Accordingly, the defendants and the United States agree and
11   stipulate that the status conference should be continued until
12   9:00 a.m. on Thursday, October 18, 2007.
13   Dated: September 12, 2007
14                                       McGREGOR W. SCOTT
                                         United States Attorney
15
                                          /s/ William E. Bonham for
16                                     By:_______________________
                                          CAMIL A. SKIPPER
17                                        Assistant U.S. Attorney
18
     Dated: September 12, 2007
19                                     SAMMY L. KELSON
                                          Defendant
20
21
                                       By:/s/William E. Bonham
22                                      WILLIAM E. BONHAM
                                             Counsel for Defendant
23
24   Dated: September 12, 2007
                                        SAMMETHIA KELSON
25                                        Defendant
26
27                                      By:/s/ William E. Bonham for
                                          DINA L. SANTOS
28                                        Counsel for Defendant

                                           2
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 1   Dated: September 12, 2007
                                       YVONNE WEST
 2                                        Defendant
 3
 4                                     By:/s/William E. Bonham for
                                        ROBERT HOLLEY
 5                                           Counsel for Defendant
 6
 7                                      ORDER
 8        IT IS SO ORDERED.      This matter is continued until 9:00 a.m.
 9   on Thursday, October 18, 2007 for further status.
10        I find that the      continuance is necessary to allow defense
11   counsel sufficient time to investigate and evaluate motions to be
12   filed   for trial preparation and trial readiness. I further find
13   that the needs of counsel to evaluate the evidence and advise
14   their clients exceed the needs of the public for a trial within
15   70 days, so that the interests of justice warrants a further
16   exclusion of time.     Accordingly, time should be excluded under
17   the Speedy Trial Act due to needs of counsel to prepare [local
18   code T4] and due to the complexity of the case [Local Code T2]up
19   to and including November 30, 2007.
20
     Dated: September 12, 2007
21
22                                      _____________________________
23                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
24
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